 FilingCase 9:23-cv-80344-AMC Document 1-11 Entered on FLSD Docket 03/02/2023 Page 1 of 2
       # 167227993   E-Filed 02/21/2023 02:13:05 PM


                         IN THE CIRCUIT COURT OF THE 15TH JUDICIAL CIRCUIT
                                IN AND FOR PALM BEACH COUNTY, FLORIDA


                                                      CASE NO.: 50-2022-CA-009847-XXXX-MB


         KWAMAIN ONEAL,
                        Plaintiff,
         vs.




                                                                                    PY
         CITY OF RIVIERA BEACH AND JOHN VANDERLAAN




                                                                          CO
                        Defendant(s),
         ___________________________________/!




                                                                   D
                                                             IE
                                             NOTICE OF HEARING
                                                       IF
         TO: Counsel As Indicated Below
                                             RT


         !
         YOU ARE HEREBY NOTIFIED that the undersigned has called up for hearing the following:
                                     CE




         DATE:          February 23, 2023
                              A




         TIME:          9:00 a.m.
                        T




         JUDGE:         Honorable JAIMIE GOODMAN
                  O




         PLACE:         Virtual ZOOM as instructed by the court
               N




         SPECIFIC MATTERS TO BE HEARD:

                            PLAINTIFFÕS MOTION FOR EXTENSION OF TIME

                                    CERTIFICATE OF SERVICE
                        I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished

                 via Electronic Mail Service on February 16, 2023 to the attached Service List.

                                                             Respectfully submitted,


*** FILED: PALM BEACH COUNTY, FL JOSEPH ABRUZZO, CLERK. 02/21/2023 02:13:05 PM ***
Case 9:23-cv-80344-AMC Document 1-11 Entered on FLSD Docket 03/02/2023 Page 2 of 2




                                                       The Barber Firm, LLC
                                                       4440 PGA Blvd. Suite 600
                                                       Palm Beach Gardens, FL 33410
                                                       Zedrick@thebarberfirm.us
                                                       (561) 221-1708


                                                       By: /s/ Zedrick Barber II
                                                       Zedrick Barber, II, Esq.




                                                                              PY
                                                       Florida Bar No. 0110326




                                                                    CO
   In accordance with the Americans with disabilities act of 1990 (ADA), disabled persons, who
   because of their disability, need special accommodations to participate in the proceeding, should
   contact the ADA Coordinator not less than 5 business days prior to the proceeding at (954)




                                                             D
   831-6364

   cc: Judicial Assistant                             IE
                                                IF
                                       RT
                              CE
                       A
                 T
            O
       N
